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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY



    COMMODITY FUTURES
    TRADING COMMISSION,                       Case No. 23–cv–11808–ESK–EAP

             Plaintiff,

        v.                                         OPINION AND ORDER

    TRADERS GLOBAL GROUP INC.,
    et al.,

             Defendants.


         THIS MATTER having come before the Court on its order (ECF Nos. 247,
   260) granting defendants’ Motion for Sanctions (Motion) (ECF No. 172); and
   defendants, at the Court’s direction, having filed on May 16, 2025 a declaration
   of fees and costs (Declaration) (ECF No. 262) attributable to the prosecution of
   the Motion; and plaintiff having no objections to the Declaration (ECF No. 264);
   and defendants having filed on May 29, 2025 a supplemental declaration of fees
   and costs attributable to the prosecution of the Motion (Supplemental
   Declaration) (ECF No. 267); and plaintiff having no objections to the
   Supplemental Declaration (ECF No. 268); and the Court finding,

         1.   Courts are “required to perform a ‘positive and affirmative function
   in the fee fixing process.” Evans v. Port Auth. of N.Y. & N.J., 273 F.3d 346,
   362 (3d Cir. 2001) (quoting Maldonado v. Houstoun, 256 F.3d 181, 184 (3d
   Cir.2001)). Courts must “review the time charged, decide whether the hours
   set out were reasonably expended for each of the particular purposes described
   and then exclude those that are ‘excessive, redundant, or otherwise
   unnecessary.’” Id. (quoting Maldonado, 256 F.3d at 184). “[T]he district
   court retains a great deal of discretion in deciding what a reasonable fee award
   is.” Id. (quoting Bell v. United Princeton Properties, Inc., 884 F.2d 713, 721 (3d
   Cir.1989)). “In determining whether the fee request is excessive ... the court
   will inevitably be required to engage in a fair amount of ‘judgment calling’ based
   upon its experience with the case and its general experience as to how much
   time a case requires.” Id. (alteration in original) (quoting Bell, 884 F.2d at
   721).
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         2.  “The starting point for determining the amount of a reasonable fee is
   the lodestar, which courts determine by calculating the ‘number of hours
   reasonably expended on the litigation multiplied by a reasonable hourly rate.’”
   McKenna v. City of Philadelphia, 582 F.3d 447, 455 (3d Cir. 2009) (quoting
   Hensley v. Eckerhart, 461 U.S. 424, 433 (1983)). The party seeking fees bears
   the burden of establishing the reasonableness of its fees. Interfaith Cmty. Org.
   v. Honeywell Int’l. Inc., 426 F.3d 694, 703 n.5 (3d Cir. 2005). Thus, “the fee
   petitioner must submit evidence supporting the hours worked and rates
   claimed.” Id.

         3.   Between September 1, 2023 and March 31, 2025, Quinn Emanuel
   Urquhart & Sullivan, LLP charged defendants $2,265,688.95 for 1,1511.9 hours
   of work relating to the prosecution of the Motion. (ECF No. 262 ¶ 13). The
   following are the highest rates per hour that Quinn Emanuel billed for this
   matter: $1,810 for Partner Robert Zink; $1,735 for Partner Avi Perry; $1,735
   for Partner Kurt Wolfe; $1,465 for Associate Dakota Speas; $1,305 for Associate
   Matthew Feibert; and $1,280 for Associate Isabelle Sun. (Id. ¶ 12.) Quinn
   Emanuel charged defendants an additional $58,709.18 in cost disbursements.
   (Id. ¶ 16.) Between April 1, 2025 and May 20, 2025, Quinn Emanuel charged
   defendants $148,273.75 for 93.2 hours of work and $29.40 in cost disbursements
   relating to the prosecution of the Motion. (ECF No. 267 ¶¶ 4, 6.)

        4.   Between September 1, 2023 and March 31, 2025, King & Spalding,
   LLP charged defendants $469,109.60 for 406.68 hours of work relating to the
   prosecution of the Motion. (ECF No. 262 ¶ 24.) The following are the highest
   rates per hour that King & Spalding billed for this matter: $1,700 for Partner
   Craig Carpenito; $1,510 for Partner Jeffrey S. Bucholtz; $1,115 for Partner
   Alexander Kazam; $1,160 for Associate T.J. Scrivo; $910 for Associate Paige
   Tenkhoff; and $760 for Associate Nicholas Cohen. (Id. ¶ 23.) King & Spalding
   charged defendants an additional $7,880.59 in cost disbursements. (Id. ¶ 27.)
   Between April 1, 2025 and May 20, 2025, King & Spalding charged defendants
   $24,208.00 for 17.8 hours of work and $240.12 in cost disbursements relating to
   the prosecution of the Motion. (ECF No. 267 ¶¶ 7, 9.)

        5.   From the inception of when the Court appointed the Honorable Jose
   L. Linares, U.S.D.J. (ret.) as Special Master (see ECF No. 122) to March 31,
   2025, McCarter & English, LLP charged defendants, at rates ordered by the
   Court (id. ¶¶ 6, 7), $140,868.13 for 335.20 hours of work relating to the
   prosecution of the Motion (ECF No. 262 ¶ 33). McCarter & English charged
   defendants an additional $12,247.76 in cost disbursements. (Id. ¶ 36).
   Between April 1, 2025 and May 28, 2025, McCarter & English charged
   defendants $21,228.75 for 51.3 hours of work. (ECF No. 267 ¶ 10.)



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         6.    The Court has carefully reviewed the Declaration, Supplemental
   Declaration, and supporting exhibits. (See ECF Nos. 262, 267.) The Court
   finds defendants have satisfied their burden of establishing the reasonableness
   of their fees and costs through their extensive time-billing records. The Court
   concludes that the tasks performed were integrally connected with the
   prosecution of the Motion. Considering the complexity of the matter, the
   issues involved in the Motion, and the challenges faced by defendants in
   defending against a federal agency’s serious allegations of $300 million in
   potential liability, defendants’ retention of highly experienced counsel at the
   hourly rates charged was a reasonable and necessary choice.

        Accordingly,

             IT IS on this 11th day of July 2025 ORDERED that:

         1.  The order dated May 18, 2025, referring the assessment of the
   Declaration to the Honorable Jose L. Linares, U.S.D.J. (ret.), as Special Master,
   for a Report and Recommendation, is vacated.

        2.    Defendants are awarded $3,148,484.22 in legal fees and costs from
   plaintiff.

        3.   The Clerk of the Court is directed to mark this matter as closed.



                                                  /s/ Edward S. Kiel
                                                 EDWARD S. KIEL
                                                 UNITED STATES DISTRICT JUDGE




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